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 6
                          UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
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     KIMBERLY BARSAMIAN,                            )   1:07-cv-00316 OWW GSA
 9                                                  )
                                                    )
10                                                  )   ORDER REGARDING STIPULATION TO
                            Plaintiff,              )   CONTINUE SETTLEMENT CONFERENCE
11                                                  )   DATE AND EXPERT WITNESS
            v.                                      )   DISCLOSURES
12                                                  )   (Document 25)
     CITY OF KINGSBURG, MARTIN SOLIS, )
13   individually and in his official capacity as a )
     Police Officer for the City of Kingsburg       )
14   Police Department, and DOES 1 through          )
     100 inclusive,                                 )
15                                                  )
                            Defendants.             )
16                                                  )
17
            On March 11, 2008, the parties filed a stipulation for continuance of the settlement
18
     conference, which originally was scheduled in this matter for March 25, 2008, at 10:30 a.m. in
19
     Courtroom 10. The parties also stipulated to amend the court’s scheduling conference order
20
     regarding disclosure of expert witnesses and disclosure of rebuttal or supplemental expert
21
     witnesses. (Document 25.)
22
            Based on the stipulation of the parties, and good cause appearing, the court hereby
23
     VACATES the settlement conference currently scheduled for March 25, 2008. The new date of
24
     June 11, 2008, at 10:30 a.m. in Courtroom 10 (GSA) before the undersigned is ordered for the
25
     Setttlement Conference.
26
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     //
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 1          In addition, the parties are directed to disclose all expert witnesses, in writing, on or
 2   before June 25, 2008. Any rebuttal or supplemental expert disclosures will be made on or before
 3   July 25, 2008.
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           IT IS SO ORDERED.
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          Dated:      March 11, 2008                         /s/ Gary S. Austin
17   60kij8                                            UNITED STATES MAGISTRATE JUDGE
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